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                                                                                                                                            Exhibit 99.1




                            UserTesting Reports Fourth Quarter and Full Year 2021 Financial Results
                                Full Year Total Revenue of $147.4 million, up 44% year-over-year
                              Fourth Quarter Total Revenue of $42.5 million, up 45% year-over-year

San Francisco, February 28, 2022, UserTesting, Inc. (NYSE: USER), a leader in video-based human insight, today announced financial results for the
fourth quarter and full year ended December 31, 2021.

“The strong momentum in our business continued in the fourth quarter with total revenue growing 45% year-over-year,” said Andy MacMillan,
CEO of UserTesting. “The investments we are making across our go-to-market organization to both drive awareness and expand use cases within
existing customers are generating results. We believe the ability to use genuine human insights to inform business decisions at the speed of
innovation represents a broad, underpenetrated market, which creates growth opportunities for years to come.”

Fourth Quarter 2021 Financial Highlights:

•Revenue: Total revenue was $42.5 million, up 45% year-over-year. Subscription revenue was $39.8 million, up 49% year-over-year.
•Operating Loss and Margin: GAAP operating loss was $(17.2) million, or (40)% of total revenue, compared to $(8.4) million, or (28)% of total
revenue, in the same period last year. Non-GAAP operating loss was $(9.9) million, or (23)% of total revenue, compared to $(7.5) million, or (26)% of
total revenue, in the same period last year.
•Net Loss: GAAP net loss was $(16.9) million, or $(0.22) per share, compared to $(7.8) million, or $(0.47) per share, in the same period last year. Non-
GAAP net loss was $(9.6) million, or $(0.12) per share, compared to $(7.0) million, or $(0.42) per share, in the same period last year.
•Cash Flow: Net cash used in operations was $(15.1) million, compared to $(1.6) million in the same period last year. Free cash flow was $(15.8)
million, compared to $(2.3) million in the same period last year.
• Cash and Cash Equivalents: UserTesting completed its initial public offering and began trading on November 17, 2021. Net proceeds to
UserTesting from the initial public offering were approximately $124.1 million after deducting underwriting discounts and commissions and other
offering costs. Cash and cash equivalents were $178.4 million as of December 31, 2021.

Full Year 2021 Financial Highlights:

• Revenue: Total revenue was $147.4 million, up 44% year-over-year. Subscription revenue was $136.7 million, up 46% year-over-year.
• Operating Loss and Margin: GAAP operating loss was $(51.2) million, or (35)% of total revenue, compared to $(34.0) million, or (33)% of total
revenue, in the same period last year. Non-GAAP operating loss was $(40.3) million, or (27)% of total revenue, compared to $(30.9) million, or (30)%
of total revenue, in the same period last year.
• Net Loss: GAAP net loss was $(50.7) million, or $(1.50) per share, compared to $(34.0) million, or $(2.10) per share, in the same period last year.
Non-GAAP net loss was $(39.9) million, or $(1.18) per share, compared to $(30.9) million, or $(1.91) per share, in the same period last year.
• Cash Flow: Net cash used in operations was $(41.1) million, compared to $(14.3) million in the same period last year. Free cash flow was $(43.7)
million, compared to $(15.3) million in the same period last year.
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Recent Highlights:

•Recent new wins and growth deals included AMC Entertainment, Anheuser-Busch, Hawaiian Airlines, Home Chef, Lowe’s, Metlife, Philips,
Phoenix Group, Reddit, and Vestiaire Collective SA.
•UserTesting was again named a leader by G2, the world’s leading independent user review site, in User Research, Mobile App Testing, and
Software Testing. G2 also named UserTesting a leader in all three business segments, including Enterprise, Mid-Market, and Small Business.
•Announced partnership with Quantum Metric to help organizations design and build customer-centric experiences faster.
•Introduced new templates for testing Facebook metaverse and virtual reality experiences.
•Held our global virtual customer conference, Human Insight World (HiWorld), with tours in North America, EMEA, and APAC.

Financial Outlook:

For the first quarter ending March 31, 2022, UserTesting currently expects:

•Total revenue between $43.0 million and $44.0 million.
•Non-GAAP operating margin between (25.0%) and (27.0%).
•Non-GAAP net loss per share between $(0.07) and $(0.08) assuming 142.5 million weighted-average shares outstanding(1).

For the full year ending December 31, 2022, UserTesting currently expects:

•Total revenue between $194.5 million and $198.5 million.
•Non-GAAP operating margin between (29.0%) and (31.0%).
•Non-GAAP net loss per share between $(0.39) and $(0.41) assuming 145.0 million weighted-average shares outstanding(1).
(1)
  Includes the impact of (i) the issuance of shares of common stock by UserTesting in its initial public offering, and (ii) the conversion of all then
outstanding shares of convertible preferred stock into shares of common stock in connection with the initial public offering, in the weighted-
average shares calculation weighted from the date of the initial public offering.

The guidance provided above are forward-looking statements and actual results may differ materially. Refer to the “Forward-Looking Statements”
section below for information on the factors that could cause our actual results to differ materially from these forward-looking statements.

Non-GAAP gross profit, non-GAAP gross margin, non-GAAP operating loss, non-GAAP operating loss margin, non-GAAP net loss, non-GAAP
net loss per share, free cash flow and free cash flow margin are non-GAAP financial measures. Additional information on UserTesting’s reported
results, including a reconciliation of the non-GAAP financial measures to their most comparable GAAP measures, is included in the financial tables
below. Our definition for each non-GAAP measure used is provided below, however a limitation of non-GAAP financial measures is that they do not
have uniform definitions. Accordingly, our definitions for non-GAAP measures used will likely differ from similarly titled non-GAAP measures used
by other companies thereby limiting comparability. In addition, the utility of free cash flow as a measure of our liquidity is limited as it does not
represent the total increase or decrease in our cash and cash equivalents balance for a given period.

With regards to the non-GAAP guidance provided above, a reconciliation of non-GAAP guidance measures to corresponding GAAP measures is
not available on a forward-looking basis without unreasonable effort due to the uncertainty of expenses that may be incurred in the future,
although it is important to note that these factors could be material to UserTesting’s results computed in accordance with GAAP.
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A supplemental financial presentation and other information can be accessed through UserTesting’s investor relations website at
https://ir.usertesting.com.

UserTesting Conference Call

UserTesting will host a conference call today on February 28, 2022 to review its fourth quarter and full year 2021 financial results and to discuss its
financial outlook. The call is scheduled to begin at 1:30pm Pacific Time (4:30pm Eastern Time). Investors are invited to join the webcast by visiting
https://ir.usertesting.com/news-events. The webcast will be available live, and a replay will be available following the completion of the live
broadcast for approximately 90 days.

About UserTesting

UserTesting (NYSE: USER) has fundamentally changed the way organizations get insights from customers with fast, opt-in feedback and
experience capture technology. The UserTesting Human Insight Platform taps into our global network of real people and generates video-based
recorded experiences, so anyone in an organization can directly ask questions, hear what users say, see what they mean, and understand what it’s
actually like to be a customer. Unlike approaches that track user behavior then try to infer what that behavior means, UserTesting reduces
guesswork and brings customer experience data to life with human insight. UserTesting has more than 2,300 customers, including more than half of
the world’s top 100 most valuable brands according to Forbes. UserTesting is headquartered in San Francisco, California. To learn more, visit
www.usertesting.com.

Forward-Looking Statements

This press release by UserTesting, Inc. (“UserTesting,” the “Company,” “we,” “us,” or similar terms) contains forward-looking statements. These
statements may relate to, but are not limited to, our financial outlook for the first quarter and full year 2022, expectations of future operating results
or financial performance, market size and growth opportunities, plans for future operations, competitive position, technological capabilities, and
strategic relationships, as well as assumptions relating to the foregoing. Forward-looking statements are inherently subject to risks and
uncertainties, some of which cannot be predicted or quantified. In some cases, you can identify forward-looking statements by terminology such
“believe,” “may,” “will,” “potentially,” “estimate,” “continue,” “anticipate,” “intend,” “could,” “would,” “project,” “target,” “plan,” “expect,” and
similar expressions. You should not put undue reliance on any forward-looking statements. There are a significant number of factors that could
cause our actual results, performance, or achievement to differ materially and adversely from the statements made in this press release, including:
intense competition in our market; our ability to attract new customers and renew and expand sales to existing customers; our ability to effectively
introduce enhancements to our platform, including new products, services, features, and functionality, that achieve market acceptance or keep pace
with technological developments; quarterly fluctuations in operating results; our ability to maintain data privacy and data security; our limited
operating history under our current business and pricing models; our ability to effectively manage growth; and other general market, political,
economic, and business conditions, including those related to the continuing impact of COVID-19. For more information regarding the risks and
uncertainties that could cause actual results, performance, or achievement to differ materially and adversely from those expressed or implied in
these forward-looking statements, as well as risks relating to our business in general, we refer you to the “Risk Factors” section of our Securities
and Exchange Commission (the “SEC”) filings, including our final prospectus filed with the SEC pursuant to Rule 424(b), dated November 16, 2021,
and other filings and reports that we may file from time to time with the SEC, copies of which are available on our website at
https://ir.usertesting.com and on the SEC’s website at www.sec.gov. You should not rely on these forward-looking statements, as actual outcomes
and results may differ materially from those contemplated by these forward-looking statements as a result of such risks and uncertainties. All
forward-looking statements in this press release are based on information available to us as of the date hereof, and we do not assume any
obligation to update the forward-looking statements provided to reflect events that occur or circumstances that exist after the date of this press
release or to reflect new information or the occurrence of unexpected events, except as required by law. We may not actually achieve the plans,
intentions, or expectations disclosed in our forward-looking statements, and you should not place undue reliance on our forward-looking
statements.
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Non-GAAP Financial Measures

To supplement our financial results, which are prepared and presented in accordance with GAAP, we use certain non-GAAP financial measures, as
described below, to understand and evaluate our core performance. These non-GAAP measures, which may be different than similarly-titled
measures used by other companies, are presented to enhance investors’ overall understanding of our financial performance and should not be
considered a substitute for, or superior to, the financial information prepared and presented in accordance with GAAP.

We believe that these non-GAAP financial measures provide useful information about our financial performance, enhance the overall
understanding of our past performance and future prospects, and allow for greater transparency with respect to important metrics used by our
management for financial and operational decision- making. We are presenting these non-GAAP measures to assist investors in seeing our financial
performance using a management view, and because we believe that these measures provide an additional tool for investors to use in comparing
our core financial performance over multiple periods with other companies in our industry. You should consider non-GAAP results alongside other
financial performance measures and results presented in accordance with GAAP. In addition, in evaluating non-GAAP results, you should be aware
that in the future we will incur expenses such as those that are the subject of adjustments in deriving non-GAAP results and you should not infer
from our non-GAAP results that our future results will not be affected by these expenses or any unusual or non-recurring items.
Non-GAAP gross profit, non-GAAP operating loss, non-GAAP net loss, non-GAAP net loss per share: We define these non-GAAP financial
measures as the respective GAAP measures, excluding stock-based compensation expenses, amortization of acquired intangible assets, reversals of
prior sales and use tax accruals and related penalties and interest, and the tax impact of the non-GAAP adjustments. We believe it is useful to
exclude these expenses in order to better understand the long-term performance of our core business and to facilitate comparison of our results to
those of peer companies and over multiple periods.

Non-GAAP gross margin and non-GAAP operating loss margin: Non-GAAP gross margin is calculated as non-GAAP gross profit divided by total
revenue. Non-GAAP operating loss margin is calculated as non-GAAP operating loss divided by total revenue. We use these non-GAAP financial
measures in conjunction with traditional GAAP measures to evaluate our financial performance.

Free cash flow and free cash flow margin: We define free cash flow as net cash used in operating activities less cash used for purchases of
property and equipment and capitalized internal-used software. Free cash flow margin is calculated as free cash flow divided by total revenue. We
believe that these non-GAAP financial measures are useful indicators of liquidity that provides information to management and investors, even if
negative, about the amount of cash generated (or used) in our operations that, after investments in property and equipment, can be used for
strategic opportunities and strengthening our balance sheet.

Non-GAAP Supplemental Financial Information

Calculated Billings: We define calculated billings, a non-GAAP financial measure, as total revenue plus the change in contract liabilities from the
beginning to the end of the period. We typically invoice our customers annually in advance, and to a lesser extent quarterly in advance, for
subscriptions to our platform. Calculated billings in any particular period reflect amounts invoiced to customers.
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                                                                      UserTesting, Inc.
                                                        Condensed Consolidated Statements of Operations
                                                           (in thousands, except per share amounts)
                                                                          (unaudited)

                                                                             Three Months Ended December 31,                    Twelve Months Ended December 31,
                                                                                2021                2020                           2021                 2020
Revenue
   Subscription                                                         $                39,795 $                 26,752 $                 136,678 $                  93,374
   Professional services                                                                  2,689                    2,637                    10,720                     8,821
      Total revenue                                                                      42,484                   29,389                   147,398                   102,195
Cost of revenue
   Subscription                                                                           7,332                    5,697                    28,562                    21,441
   Professional services                                                                  2,351                    2,187                     8,598                     8,126
      Total cost of revenue                                                               9,683                    7,884                    37,160                    29,567
Gross profit                                                                             32,801                   21,505                   110,238                    72,628
Operating expenses:
   Sales and marketing                                                                   29,122                    17,144                   91,634                    59,737
   Research and development                                                              10,698                     7,723                   39,826                    27,897
   General and administrative                                                            10,137                     5,010                   29,954                    18,960
      Total operating expenses                                                           49,957                    29,877                  161,414                   106,594
Loss from operations                                                                   (17,156)                   (8,372)                 (51,176)                  (33,966)
Interest income, net                                                                         23                        46                      126                       136
Other income, net                                                                           168                       585                      851                       747
  Loss before provision for (benefit from) income taxes                                (16,965)                   (7,741)                 (50,199)                  (33,083)
  Provision for (benefit from) income taxes                                                (47)                       106                      522                       900
Net loss                                                                $              (16,918) $                 (7,847) $               (50,721) $                (33,983)
Net loss per share attributable to common stockholders,
basic and diluted(1)                                                    $                (0.22) $                  (0.47) $                  (1.50) $                  (2.10)
Weighted-average shares used in computing net loss per
share attributable to common stockholders, basic and
diluted(1)                                                                               78,478                   16,791                    33,841                    16,210


(1)
   Includes the impact of (i) the issuance of shares of common stock by UserTesting in its initial public offering, and (ii) the conversion of all then outstanding shares of
convertible preferred stock into shares of common stock in connection with the initial public offering, in the weighted-average shares calculation weighted from the date
of the initial public offering.
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Stock-based Compensation Expense

The following table summarizes total stock-based compensation expense included in cost of revenue and operating expenses (in thousands):

                                                                 Three Months Ended December 31,            Twelve Months Ended December 31,
                                                                    2021                2020                   2021                 2020
Cost of revenue
  Subscription                                               $                 93 $                  4 $                 123 $                  14
  Professional services                                                       202                    8                   362                    35
Operating expenses:
  Sales and marketing                                                       2,520                  239                 3,599                   868
  Research and development                                                  1,271                   99                 1,891                   346
  General and administrative                                                3,220                  355                 6,250                 1,284
                                                             $              7,306 $                705 $              12,225 $               2,547


Amortization of Intangible Assets

The following table summarizes total amortization of acquired intangible assets included in cost of revenue and operating expenses (in thousands):

                                                                 Three Months Ended December 31,            Twelve Months Ended December 31,
                                                                    2021                2020                   2021                 2020
Cost of revenue
  Subscription                                               $                333 $                 80 $                 825 $                 245
Operating expenses:
  Sales and marketing                                                         513                   47                   657                   145
  Research and development                                                     42                   40                   172                   140
  General and administrative                                                    -                    1                     -                    15
                                                             $                888 $                168 $               1,654 $                 545
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                                                                UserTesting, Inc.
                                                      Condensed Consolidated Balance Sheets
                                                                 (in thousands)
                                                                   (unaudited)

                                                                                                  December 31,        December 31,
                                                                                                      2021                2020
Assets
Current assets:
   Cash and cash equivalents                                                                  $           178,430 $            96,972
   Accounts receivable, net                                                                                47,973              24,267
   Costs capitalized to obtain revenue contracts, current                                                   8,116               5,231
   Prepaid expenses and other current assets                                                                6,045               3,067
      Total current assets                                                                                240,564             129,537
Property and equipment, net                                                                                 3,257               1,292
Operating lease right-of-use assets                                                                        16,401                   -
Intangible assets, net                                                                                        640               2,194
Goodwill                                                                                                    8,785               8,785
Costs capitalized to obtain revenue contracts, non-current                                                 12,941               9,119
Other long-term assets                                                                                        540                 826
      Total Assets                                                                            $           283,128 $           151,753
Liabilities, Convertible Preferred Stock and Stockholders’ Equity (Deficit)
Current liabilities:
   Accounts payable                                                                           $             1,544 $             1,214
   Contract liabilities                                                                                    90,952              62,815
   Operating lease liabilities, current                                                                     5,271                   -
   Accrued expenses and other current liabilities                                                          21,799              24,030
      Total current liabilities                                                                           119,566              88,059
Operating lease liabilities, noncurrent                                                                    12,996                   -
Other long-term liabilities                                                                                   887               2,526
      Total Liabilities                                                                                   133,449              90,585
  Convertible preferred stock                                                                                   -             201,531
Stockholders’ equity (deficit):
     Common stock and capital in excess of par value                                                      352,881              12,118
   Accumulated deficit                                                                                  (203,202)           (152,481)
      Total Stockholders’ equity (deficit)                                                                149,679           (140,363)
Total Liabilities, Convertible Preferred Stock and Stockholders’ Equity (Deficit)             $           283,128 $           151,753
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                                                             UserTesting, Inc.
                                               Condensed Consolidated Statements of Cash Flows
                                                               (in thousands)
                                                                 (unaudited)
                                                                                                            Twelve Months Ended December 31,
                                                                                                               2021                 2020
Cash flows from operating activities:
Net loss                                                                                                $          (50,721) $           (33,983)
Adjustments to reconcile net loss to net cash used in operating activities:
  Depreciation and amortization                                                                                       2,384                  865
  Stock-based compensation expense                                                                                   12,225                2,547
  Provision for allowance for doubtful accounts                                                                         160                   89
  Amortization of costs capitalized to obtain revenue contracts                                                       6,778                4,062
  Deferred income taxes                                                                                                 327                  136
  Changes in operating assets and liabilities:
      Accounts receivable                                                                                          (23,865)              (5,093)
      Costs capitalized to obtain revenue contracts                                                                (13,485)              (8,961)
      Prepaid expenses and other assets                                                                             (2,566)               (2,113)
      Accounts payable                                                                                                  407                 (178)
      Accrued liabilities                                                                                               882                 6,867
      Contract liabilities                                                                                           28,137               17,126
      Other liabilities                                                                                             (1,741)                 4,331
         Net cash used in operating activities                                                                     (41,078)             (14,305)
Cash flows from investing activities:
  Purchase of property and equipment                                                                                (2,657)              (1,002)
  Purchase of intangible assets                                                                                       (150)                (150)
  Acquisition of business, net of cash acquired                                                                           -              (8,617)
         Net cash used in investing activities                                                                      (2,807)              (9,769)
Cash flows from financing activities:
     Proceeds from the issuance of convertible preferred stock, net of issuance costs                                     -              99,884
     Proceeds from the issuance of common stock upon initial public offering, net of issuance costs and
     underwriting discounts                                                                                         124,071                    -
     Repayments of note payable                                                                                            -             (2,500)
     Payment of deferred purchase consideration                                                                      (1,766)                   -
     Proceeds from issuance of common stock upon exercise of stock options                                             3,038               1,905
         Net cash provided by financing activities                                                                  125,343               99,289
Net increase in cash and cash equivalents                                                                             81,458              75,215
Cash and cash equivalents, beginning of period                                                                        96,972              21,757
Cash and cash equivalents, end of period                                                                $           178,430 $             96,972
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                                                                UserTesting, Inc.
                                       Reconciliation of GAAP to Non-GAAP Gross Profit and Gross Margin
                                                             (dollars in thousands)
                                                                   (unaudited)
                                             Three Months Ended December 31, 2021              Three Months Ended December 31, 2020
                                                          Professional                                      Professional
                                         Subscription       Services          Total        Subscription       Services          Total
GAAP gross profit                      $       32,463   $          338   $       32,801  $       21,055   $          450   $       21,505
GAAP gross margin                                   82%              13%             77%              79%              17%             73%
Adjustments:
   Stock-based compensation expense                93              202             295                4                8              12
   Amortization of intangible assets              333                -             333               80                -              80
Non-GAAP gross profit                  $       32,889    $         540    $     33,429    $      21,139    $         458    $     21,597
Non-GAAP gross margin                              83%              20%             79%              79%              17%             73%


                                             Twelve Months Ended December 31, 2021             Twelve Months Ended December 31, 2020
                                                          Professional                                      Professional
                                         Subscription       Services           Total       Subscription       Services           Total
GAAP gross profit                      $      108,116   $         2,122  $      110,238  $       71,933   $          695   $       72,628
GAAP gross margin                                   79%              20%             75%              77%               8%             71%
Adjustments:
   Stock-based compensation expense               123              362             485               14               35              49
   Amortization of intangible assets              825                -             825              245                -             245
Non-GAAP gross profit                  $      109,064    $       2,484    $    111,548    $      72,192    $         730    $     72,922
Non-GAAP gross margin                             80%              23%              76%              77%               8%             71%
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                                                                                       UserTesting, Inc.
                                                                  Reconciliation of GAAP to Non-GAAP Operating Expenses
                                                                                     (dollars in thousands)
                                                                                           (unaudited)
                                                                        Three Months Ended December 31, 2021                                                      Three Months Ended December 31, 2020
                                                  Sales and              Research and            General and            Total Operating       Sales and            Research and            General and             Total Operating
                                                  Marketing              Development            Administrative             Expenses           Marketing            Development            Administrative              Expenses
GAAP expenses                                 $       29,122        $          10,698       $           10,137      $          49,957     $       17,144      $           7,723       $            5,010       $          29,877
Adjustments:
      Stock-based compensation expense                (2,520)                  (1,271)                  (3,220)                (7,011)             (239)                    (99)                   (355)                   (693)
      Amortization of intangible assets                 (513)                     (42)                        -                  (555)              (47)                    (40)                     (1)                    (88)
      Reversal of sales and use tax accruals,
      penalties and interest                                  -                         -                  900                    900                     -                       -                        -                    -
   Non-GAAP expenses                          $       26,089        $            9,385      $            7,817      $          43,291     $       16,858      $           7,584       $            4,654       $          29,096
   Non-GAAP expenses as a % of revenue                    6 1%                      2 2%                     1 8%                 102%                5 7%                   2 6%                     1 6%                    9 9%



                                                                        Twelve Months Ended December 31, 2021                                                     Twelve Months Ended December 31, 2020
                                                  Sales and              Research and            General and            Total Operating       Sales and            Research and            General and             Total Operating
                                                  Marketing              Development            Administrative             Expenses           Marketing            Development            Administrative              Expenses
GAAP expenses                                 $      91,634         $          39,826       $          29,954       $        161,414      $      59,737       $          27,897       $          18,960        $        106,594
Adjustments:
   Stock-based compensation expense                  (3,599)                  (1,891)                  (6,250)               (11,740)              (868)                  (346)                  (1,284)                 (2,498)
   Amortization of intangible assets                   (657)                    (172)                        -                  (829)              (145)                  (140)                     (15)                   (300)
      Reversal of sales and use tax accruals,
      penalties and interest                                  -                      -                   3,022                  3,022                     -                    -                           -                    -
   Non-GAAP expenses                         $       87,378         $          37,763       $          26,726       $        151,867      $      58,724       $          27,411       $          17,661        $        103,796
   Non-GAAP expenses as a % of revenue                    5 9%                     2 6%                     1 8%                  103%                5 7%                   2 7%                     1 7%                   102%
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                                                             UserTesting, Inc.
                               Reconciliation of GAAP to Non-GAAP Operating Loss and Operating Loss Margin
                                                           (dollars in thousands)
                                                                 (unaudited)
                                                                  Three Months Ended December 31,                Twelve Months Ended December 31,
                                                                     2021                2020                       2021                 2020
GAAP operating loss                                       $            (17,156)  $           (8,372)  $                (51,176)  $          (33,966)
GAAP operating loss margin                                                 (40)%                (28)%                      (35)%                (33)%
Adjustments:
  Stock-based compensation expense                                        7,306                 705                     12,225                2,547
  Amortization of intangible assets                                         888                 168                      1,654                  545
    Reversal of sales and use tax accruals, penalties and
    interest                                                              (900)                    -                    (3,022)                    -
Non-GAAP operating loss                                   $             (9,862)      $       (7,499)         $         (40,319)     $       (30,874)
Non-GAAP operating loss margin                                             (23)%                (26)%                      (27)%                (30)%


                                                               UserTesting, Inc.
                                    Reconciliation of GAAP to Non-GAAP Net Loss and Net Loss Per Share
                                                    (in thousands, except per share amounts)
                                                                   (unaudited)

                                                                    Three Months Ended December 31,              Twelve Months Ended December 31,
                                                                       2021                2020                     2021                 2020
GAAP net loss                                                 $            (16,918) $           (7,847) $                (50,721) $           (33,983)
Adjustments:
  Stock-based compensation expense                                            7,306                    705                 12,225               2,547
  Amortization of intangible assets                                             888                    168                  1,654                 545
    Reversal of sales and use tax accruals, penalties and
    interest                                                                  (900)                   -                   (3,022)                    -
Non-GAAP net loss                                             $             (9,624) $           (6,974) $                (39,864) $           (30,891)

GAAP net loss per share, basic and diluted                    $               (0.22) $              (0.47) $                (1.50) $            (2.10)
Adjustments to GAAP net loss per share:
  Stock-based compensation expense                                                0.10                0.04                   0.36                   0.16
  Amortization of intangible assets                                               0.01                0.01                   0.05                   0.03
    Reversal of sales and use tax accruals, penalties and
    interest                                                                  (0.01)                     -                  (0.09)                   -
  Non-GAAP net loss per share, basic and diluted              $               (0.12) $              (0.42) $                (1.18) $            (1.91)
  Weighted-average shares used in computing non-GAAP
  net loss per share, basic and diluted                                      78,478                 16,791                 33,841              16,210
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                                                            UserTesting, Inc.
                                                   Non-GAAP Free Cash Flow Reconciliation
                                                          (dollars in thousands)
                                                                (unaudited)
                                                            Three Months Ended December 31,              Twelve Months Ended December 31,
                                                               2021                2020                     2021                 2020
GAAP net cash used in operating activities              $         (15,073)    $        (1,643)       $         (41,078)    $        (14,305)
Add: Purchases of property and equipment                             (702)               (637)                  (2,657)              (1,002)
Non-GAAP free cash flow                                 $         (15,775)    $        (2,280)       $         (43,735)    $        (15,307)
Non-GAAP free cash flow margin                                        (37)%                   (8)%                 (30)%                (15)%



                                                             UserTesting, Inc.
                                                 Non-GAAP Supplemental Financial Information
                                                           (dollars in thousands)
                                                                 (unaudited)
                                                            Three Months Ended December 31,              Twelve Months Ended December 31,
                                                               2021                2020                     2021                 2020
Revenue                                                 $          42,484     $         29,389       $         147,398     $        102,195
Increase in contract liabilities                                   11,353                8,773                  28,137               17,160
Calculated billings                                     $          53,837     $         38,162       $         175,535     $        119,355
Year-over-year calculated billings growth rate                         41%                    44%                   47%                     34%


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